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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

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Harestuen MOD 21746 wy BSINCT OF MARAE
7 DEPUTY
*
(nf name, date of birth, idenufication & address of petitioner)
Plaintiff,

Case No.:
(Leave blank. To be filled in by Court.)

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of MICTL Peison

ra Upgenton gy 21196

(Full namé/and address af respondent}
Defendant(s).

s *

COMPLAINT
l. Previous Lawsuits

A. Have you filed other cases in state or federal court dealing with the same facts as in this
case or against the same defendants?

Yes O NO a

B. If you answered YES, describe that case(s) in the spaces below.
|. Parties to the other case(s):

Plaintiff:

Defendant(s):

2, Court (ifa federal court name the district; if a state court name the city or county):

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* Do not file any motions or memoranda that are longer than thirty-five (35) pages unless you
have received permission from the Court. Most motions and memoranda should be much
shorter than thirty-five pages.

e You do not have to file copies of exhibits that are already on file in the same case. For
example, if the defendants in your case file a motion for summary judgment and attach as
an exhibit to their motion a copy of a sick call slip, you do not have to attach a copy of that
document to your opposition or to any motions you file. You may simply refer to the copy
that is already in the file. ,

¢« You must sign every pleading, motion, and memorandum that you file. You MAY NOT

‘ sign someone else’s name, nor may you file anything on behalf of someone else. In order for

a pleading, motion, or memorandum to be considered on behalf of more than one plaintiff,
each plaintiff must sign it.

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3. Case No.:

4. Date filed:

5. Name of judge that handled the case:

6. Disposition (won, dismissed, still pending, on appeal):

7. Date of Disposition:

If. Administrative Proceedings

A. If you are a prisoner, did you file a grievance as required by the prison’s administrative
remedy procedures?

YES No OU

I. Ifyou answered YES:
a. What was the result? Dsrrssect u per

(omar [202-2

b. Did you appeal?
vis &@ wo

2. Ifyou answered NO to either of the questions above, explain why:

it. Statement of Claim
(Briefly state the facts of your case. Include dates, times, and places. Describe what each
defendant did or how he/she is involved. If you are making a number of related claims,
number and explain each claim in a separate paragraph.)

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as he assaulted my 4 ten ett me fa bt for aver 18 eS,

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IV. Relief
(State briefly what you want the Court to do for you.)

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SIGNED THIS 20 day of april L027.

CL arsdm Owes

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Printed Name

Mmoi-H 18C0/ Pasir RD Hegesstown MD 217
Address °

Telephone Number
ee

Email Address

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